(Poet. 3/:6/13)
                             Case 4:13-cr-00109-JLH Document 30 Filed 11/19/13 Page 1 of 1
       --.                                    IN THE UNITED STATES DISTRICT COURT
                                                                                                                              FILED
                                                                                                                       EAST~RS. DISTRICT COURT
                                                                                                                              N DISTRICT ARKANSAS
                                                 EASTERN DISTRICT OF ARKANSAS
                                                       WESTERN DIVISION                                                    NOV 19 2013
                                                                                                               JAMES W. Mr.r.o
                  UNITED STATES OF AMERICA                                                                     By}:>LAINTIFF

                          vs.

                                                                                                               DEFENDANT


                                        WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                           AND ENTRY OF PLEA OF NOT GUILTY
                                 (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                          NOW COMES Detbudant in the above-refcrenced case who, along with his/her wtdersigued attomey,
                  hereby acknowledges the following:

                  1)      Defendant bas received a copy of the indictment, superseding indictment or misdemeanor
                          infonnation in this case. Defendant understands the nature and substance of the charges contained
                          therein, the maximum penalties applicable thereto, and his/Iter Constitutional rights. after being
                          advised of all ofthe above by his!ller attorney.

                  2)      Defendant lmderstands he/she has the right to appear personally with his/her attorney before a Judge
                          for arraignment in open court on this accusation. Defendant futther understands that, absent the
                          present waiver, he/she will be so arraigned in open comt.

                  Defendant. having coutened with his/her attomey in this regard, hereby waives personal appearar1ce with
                  his!ller attorney at the ruraignment of this case atld the reading of the indictment, superseding indictment or
                  infonnation, and by this instrument tenders a plea of ''not guilty." The defendant understands that entry by
                  the Court of said plea for defendant will conclude the atTaignment in this case for all pmposes.


                                 11   /3 13                            d~ermvtrL We~
                          Date                                       Difendant's Signat e

                                      s /]
                                                            ORDER OF COURT

                  ;a:::"' The defendant's request to waive appearance at the anaignment is hereby APPROVED and a
                           plea of not guilty is entered for the defendant effective this date

                   0       The defendru1t's request to waive appearanc


                           Datec '



                  cc:     All Counsel ofRecord
                          U.S. Probation Office
                          U.S. Marshals Service
                          Presiding Magistrate Judge
